Case 2:08-cr-00085-LRS   ECF No. 586   filed 08/04/09   PageID.2547 Page 1 of 7
Case 2:08-cr-00085-LRS   ECF No. 586   filed 08/04/09   PageID.2548 Page 2 of 7
Case 2:08-cr-00085-LRS   ECF No. 586   filed 08/04/09   PageID.2549 Page 3 of 7
Case 2:08-cr-00085-LRS   ECF No. 586   filed 08/04/09   PageID.2550 Page 4 of 7
Case 2:08-cr-00085-LRS   ECF No. 586   filed 08/04/09   PageID.2551 Page 5 of 7
Case 2:08-cr-00085-LRS   ECF No. 586   filed 08/04/09   PageID.2552 Page 6 of 7
Case 2:08-cr-00085-LRS   ECF No. 586   filed 08/04/09   PageID.2553 Page 7 of 7
